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         Exhibit 5
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From:                             Justin Kuehn <jkuehn@moorekuehn.com>
Sent:                             Monday, August 17, 2020 4:24 PM
To:                               Mueller, Jeff; fmoore@moorekuehn.com
Cc:                               'McDevitt, Jerry'; 'Krasik, Curtis B.'
Subject:                          RE: Nordstrom v. McMahon et al., Case No. 3:20-cv-00904-VAB (D. Conn.)


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Jeff,

Your letter is incorrect. The Amended Complaint – just as the original complaint – alleges with specificity that Mr.
Nordstrom “has continuously been a shareholder of WWE since September 26, 2018.” Amended Complaint
¶10. Further, Mr. Nordstrom’s verification states, “I further declare that I am a current holder, and have been a holder,
of World Wrestling Entertainment, Inc. common stock at all relevant times.” This unquestionably alleges Mr.
Nordstrom’s standing. Mr. Nordstrom is not going to engage in one‐sided discovery, however, we are happy to schedule
a call to discuss a discovery plan since defendants seem anxious to begin exchanging documents.

Justin


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Justin Kuehn | Partner | Moore Kuehn, PLLC
30 Wall Street, 8th Floor | New York, NY 10005 | jkuehn@moorekuehn.com
Tel: (212) 709‐8245 | Dir: (917) 818‐3045

From: Mueller, Jeff <jmueller@daypitney.com>
Sent: Monday, August 17, 2020 7:50 AM
To: fmoore@moorekuehn.com; 'Justin Kuehn' <jkuehn@moorekuehn.com>
Cc: 'McDevitt, Jerry' <Jerry.McDevitt@klgates.com>; Krasik, Curtis B. (Curtis.Krasik@klgates.com)
<Curtis.Krasik@klgates.com>
Subject: Nordstrom v. McMahon et al., Case No. 3:20‐cv‐00904‐VAB (D. Conn.)

Counsel: Please see the attached correspondence.

Jeffrey P. (Jeff) Mueller | Attorney at Law | Attorney Bio


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